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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :    CRIMINAL NO. 1:21-cr-00303-ABJ-2
                       v.                        :
                                                 :
 DEBORAH LYNN LEE,                               :
                                                 :
                            Defendant.           :



                               JOINT MOTION TO CONTINUE

       The United States of America, by and through its undersigned counsel, and joined by the

defendant, request that the status conference currently scheduled for January 6, 2022 be continued

for approximately 30 days, and time be excluded under the Speedy Trial Act, 18 U.S.C. § 3161.

In support of this request, the parties submit as follows:

       1.      On August 5, 2021, the defendant was charged via criminal complaint with

violations of 18 U.S.C. §1752(a)(1), and (2), and 40 U.S.C. §5104(e)(2)(D), and (G) for allegations

arising out of conduct on January 6, 2021. See ECF No. 1.

       2.      On August 16, 2021, the defendant was placed on pre-trial release and ordered to

abide by standard conditions. The defendant remains on pretrial release. See ECF Nos. 7, 10, 46,

52.

       3.      On August 27, 2021, the government filed an Information alleging the same charges

described above. See ECF No. 27.

       4.      On November 16, 2021, the defendant appeared before this Court, was arraigned

on those charges, and entered a plea of not guilty. Both parties requested an exclusion of time until

January 6, 2022 for the defense to review discovery and to discuss a potential resolution of this

matter. The Court granted this request.
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        6.      The government extended a plea offer to the defendant on November 30, 2021. On

December 24, 2021, the defense contacted the government to request a 30-day extension of time

to consider the government’s plea offer. The government agreed and extended the plea offer

deadline to February 4, 2022.

        7.      Accordingly, the parties now jointly move this Court to continue the status

conference, currently scheduled for January 6, 2022, to a time on or after February 7, 2022, a

period of approximately 30 days. Such a continuance will allow the parties to continue discussions

regarding a possible resolution of this matter short of trial.

        7.      The parties also request that time be excluded from calculation, pursuant to the

Speedy Trial Act, 18 U.S.C. § 3161, until the date of the continued status conference in this matter.

The parties submit that a continuance of approximately 30 days is warranted and that an order

excluding time would best serve the interests and ends of justice and outweigh the interests of the

public and defendant in a speedy trial pursuant to the factors described in 18 U.S.C.

§3161(h)(7)(A), (B)(i), (ii), and (iv).




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       WHEREFORE, the parties request that this Court continue the Status Conference currently

scheduled for January 6, 2022, to a date on or after February 7, 2022, a period of approximately

30 days. The parties further request that the Court toll time under the Speedy Trial Act until the

new hearing date.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052


                                     By:     /s/ Michael J. Romano
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